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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                              CASE NO.: 1:07-CR-021-SPM

LUIS MATA-MORENO,

             Defendant.

________________________________/


                           ACCEPTANCE OF GUILTY PLEA

       PURSUANT TO the Report and Recommendation (doc. 121) of the United

States Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Federal Rule of Criminal

Procedure 11(e)(2), the plea of guilty of the Defendant, LUIS MATA-MORENO, to

Counts One and Two of the indictment is hereby ACCEPTED. All parties shall appear

before this Court for sentencing as directed.

       DONE AND ORDERED this eleventh day of January, 2008.




                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
